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                   Exhibit O
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Fraud on the USPTO                              Trademark Act Section 14(3); In re Bose Corp.,
                                                580 F.3d 1240, 91 USPQ2d 1938 (Fed. Cir.
                                                2009)
Other                                           Application made in bad faith to stifle competition



Attachments      2024-8-27 Petition for Cancellation F.pdf(69286 bytes )

Signature        /EAET/
Name             Emilio A Estrella Teron
Date             08/27/2024
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      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

In Re: Trademark Registration No: 7466919
For the mark: BLACK WIDOW
Date registered: Aug. 06, 2024

BLACK WIDOW PEST SPECIALIST LLC, PETITIONER

          v.

BLACK WIDOW TERMITE & PEST CONTROL CORP., REGISTRANT

       PETITION FOR CANCELLATION – 309.03(a)(2) STATEMENT
       The Petitioner believes that it is and will be damaged by the above-identified registration

and hereby petitions the U.S. Trademark Trial and Appeal Board to cancel the same pursuant to

15 U.S.C. § 1064. As grounds for cancellation, the Petitioner represents the following:

FACTS COMMON TO ALL COUNTS

1.     Black Widow Pest Specialist LLC (“Petitioner”) is a Connecticut limited liability

company with a principal place of business at 108 Curtiss St., Naugatuck, Connecticut.

2.     Upon information and belief, Black Widow Termite & Pest Control Corp. (“Registrant”)

is a New York corporation with an office at 112 Meeting House Road, Suite B, Bedford Corners,

New York 10549.

3.     Petitioner has used the name “Black Widow Pest Specialist” in Connecticut in connection

with pest control services since 2021, and has been registered with the Connecticut Secretary of

State since June 7, 2021.
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4.      Registrant is the owner of U.S. Trademark Registration No. 4,582,084 (the “‘084

Registration”) for the mark “BLACKWIDOWPEST”, which is registered on the supplemental

register.

5.      Registrant is the owner of U.S. Trademark Registration No. 4,624,108 (the “‘108

Registration”), which is a design mark. The ‘108 Registration explicitly states: “NO CLAIM IS

MADE TO THE EXCLUSIVE RIGHT TO USE ‘BLACK WIDOW’, APART FROM THE

MARK AS SHOWN.”

6.      Registrant is the owner of U.S. Trademark Registration No. 4,624,109 (the “‘109

Registration”), which is a design mark. The ‘109 Registration explicitly states: “NO CLAIM IS

MADE TO THE EXCLUSIVE RIGHT TO USE ‘BLACK WIDOW TERMITE & PEST

CONTROL CORP.’, APART FROM THE MARK AS SHOWN.”

7.      On August 9, 2023, Registrant filed Trademark Application No. 98/124,482 (the “‘482

Application”) for the word mark “BLACK WIDOW” for “Pest control for commercial buildings;

Pest Control for residential homes; Termite and pest control services, other than for agriculture,

aquaculture, horticulture and forestry.”

8.      One day later, on August 10, 2023, Registrant sent Petitioner a cease-and-desist letter

alleging that Petitioner was infringing on Plaintiff’s trademarks.

9.      The ‘482 Application registered on August 6, 2024, bearing registration number

7,466,919 (the “‘919 Registration”).

COUNT ONE – The BLACK WIDOW mark is or has become generic.

1.      The term “Black Widow” refers to a “a venomous New World spider (Latrodectus

mactans of the family Theridiidae) the female of which is black with an hourglass-shaped red

mark on the underside of the abdomen, or broadly any of various related venomous spiders that



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have a large globular, usually glossy, dark abdomen often marked with red and long and wiry

legs. Merriam-Webster. (n.d.). Black widow. In Merriam-Webster.com dictionary. Retrieved

August 27, 2024, from https://www.merriam-webster.com/dictionary/black%20widow.

2.     The term “Black Widow” in connection with pest control services is not inherently

distinctive, and the ‘919 mark has not yet reached incontestability.

3.     Multiple species of black widow spider are present in the Registrant’s home state of New

York, Petitioner’s home state of Connecticut, and throughout the mainland United States.

Because these spiders are dangerous to humans, hundreds of businesses across the United States

provide black widow pest removal services.

4.     Upon information and belief, there exist several entities across the United States using the

term “Black Widow” in commerce for substantially the same services as those claimed in the

‘919 Registration, including but not limited to: Black Widow Pest Control Inc, Indianapolis, IN;

Black Widow Pest Control, Loveland, CO; Black Widow Pest Control, Fort Collins, CO; Black

Widow Pest Control, Windsor, CO; Black Widow Pest Control, Timnath, CO; Black Widow

Pest Control, Johnstown, CO; Black Widow Pest Control, West Jordan, UT.

5.     Upon information and belief, several entities in the United States use the term “Black

Widow” in the context of pest control services merely as a description of said services, including

but not limited to “Expert Black Widow Control Services” used by EcoGuard Pest Management

in CA, OR, WA, TN, and NV; “Black Widow Control” used by Senske Services in CO, ID, OR,

UT, and WA. “Black Widow Spider Pest Control Service” used by Ortex Systems in TN and AL.

6.     The term “Black Widow” is or has become a generic term as evidenced by extensive use

in the pest control business. The Registration should therefore be cancelled pursuant to 15 U.S.C.

§ 1064(3).



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COUNT TWO – The BLACK WIDOW Mark is merely descriptive.

1-5.     The Petitioner incorporates paragraphs 1-5 of COUNT ONE as paragraphs 1-5 of

COUNT TWO as if fully set forth herein.

6.       The term “Black Widow” in connection with pest control services merely descriptive of

the services provided, as it is directly related to the services offered. The ‘919 Registration

should therefore be cancelled pursuant to 15 U.S.C. § 1064(3).

COUNT THREE – The BLACK WIDOW mark is not inherently distinctive and has not

acquired distinctiveness.

1-5.     The Petitioner incorporates paragraphs 1-5 of COUNT ONE as paragraphs 1-5 of

COUNT THREE as if fully set forth herein.

6.       The ‘919 Registration relied upon a claim of acquired distinctiveness under Section 2(f).

The ‘482 Application represented to the USPTO that “The mark has become distinctive of the

goods/services as evidenced by the ownership on the Principal Register for the same mark for

sufficiently similar goods/services of active U.S. Registration No(s). 4624108, 4624109.”

7.       The ‘108 and ‘109 Registrations are both design marks, of which the words “Black

Widow” are merely one component. Both Registrations explicitly disclaimed exclusive use of

the term “BLACK WIDOW.”

8.       Registrant provided no additional evidence regarding the duration, extent and nature of

use of the mark, consumer data, or other supporting evidence to demonstrate acquired

distinctiveness as it relates to the Registrant’s business. See Yamaha Int’l Corp. v. Hoshino

Gakki Co., 840 F.2d 1572, 1583 (Fed. Cir. 1988).

9.       Registrant has provided no evidence that the mark has acquired secondary meaning in

interstate commerce. It has not shown any efforts to associate the term with its business beyond



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its geographic boundaries. The very specimen it provided in support of the ‘482 Application

includes several geographic identifiers and limits services to New York.

10.     Because the mark is not inherently distinctive and the Registrant has not sufficiently

demonstrated that the mark has acquired distinctiveness in relation to its business, the ‘919

registration must be cancelled.

COUNT FOUR – The ‘919 Registration was made in bad faith to stifle competition.

1.      The Registrant filed the ‘482 Application on August 9, 2023.

2.      Just one day later, on August 10, 2023, Registrant sent Petitioner a cease-and-desist letter

alleging that Petitioner was infringing on Plaintiff’s trademarks, and cited the pending ‘482

Application.

3.      The Petitioner has continuously operated its business, which provides services

substantially similar to those offered by the Petitioner, since as early as June 2021.

4.      The Petitioner (as well as numerous other entities across the United States) have

employed the “Black Widow” term extensively before the ‘482 Application was filed, as they

were entitled to do in light of Registrant’s express disclaimers. Petitioner’s use was not

challenged until August, 2023.

5.      Numerous other entities use the term “Black Widow” in connection with substantially

identical services across the United States, yet, upon information and belief, only the Petitioner

has been targeted.

6.      Because the Registrant only sought to acquire the BLACK WIDOW mark in an effort to

stifle Petitioner’s business, in bad faith, ‘919 registration must be cancelled.




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COUNT FIVE – The BLACK WIDOW mark was not used in interstate commerce before
the Application was filed.

1.       The Registrant has not demonstrated active use in interstate commerce. See 15 U.S.C.

§1051(a).

2.       In support of the ‘482 Application, the Registrant provided an image from its website as a

specimen to show active use in interstate commerce (the “‘482 Specimen”).

3.       The ‘482 Specimen clearly demonstrates that the Registrant only provides services in

New York—it includes language such as “Servicing New York City” and “Premier Termite and

Pest Control for New York City.” Upon information and belief, the Registrant is licensed to

perform pest control services exclusively in New York.

4.       Because the Registrant has not demonstrated use of the mark in interstate commerce, and

willfully misrepresented the same to the USPTO, the ‘919 registration must be cancelled.

COUNT SIX – The deliberate misrepresentations made within the ‘482 Application
constitute fraud on the USPTO.

1-3.     The Petitioner incorporates paragraphs 1-3 of COUNT FIVE as paragraphs 1-3 of

COUNT SIX as if fully set forth herein.

4.       When the Registrant filed the ‘482 Application, it represented to the USPTO that it had

been using the BLACK WIDOW mark in interstate commerce as early as 2003. The Registrant

knew this to be false when it made that representation to the USPTO.

5.       But for those misrepresentations, the ‘482 Application would have been rejected.

6.       The Registrant willfully and deliberately misrepresented facts to secure registration of the

‘482 Application.

7.       The willfulness of Registrant’s misrepresentations constitutes fraud upon the USPTO.




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